EXHIBIT
 ONE
                                               Release and Settlement Agreement

                    AGREEMENT dated as of December 16, 2015, by and among Gail A. Cahaly, Joseph J,
                    Iantosca and David Iantosca individually and as trustees of Faxon Heights Apartments
                    and Fern Realty Trust on behalf of Joseph Iantosca (deceased), Belridge Corporation,
                    Jeffrey M. Johnston, Bellemore Associates, LLC and Massachusetts Lumber Company,
                    Inc. (collectively "The Cahaly Plaintiffs") and Daniel Carpenter, Molly Carpenter,
                    Boston Property Exchange Transfer Company, Inc., f/n/a Benistar Property Exchange
                    Trust Company, Benistar Admin. Services, Inc., Carpenter Financial Group, Benistar
                    Ltd., Benistar Employer Services Trust Corporation, and U.S. Prnperty Exchange
                    (collectively "BPETCO").

                    WHEREAS, the parties to this Agreement (the "Parties") are all of the parties to an action
                    styled Cahaly, et al v. Boston Property Exchange Trust Company, et al, CM/ Action No.
                    SUCV2014-cv-00530-D (the "Litigation''); and

                    WHEREAS, the Parties have agreed to settle the Litigation on the terms set forth below.

                   NOW, THEREFORE, for good and valuable consideration, the receipt and adequacy of
                   which are hereby acknowledged, the Parties hereby agree as follows:

                           1.     BPETCO agrees to release any claim on the $2, 85 million of escrowed
                   funds currently held by the Court in the Litigation, (the ''Escrowed Funds") and to
                   authorize the Court to pay the Escrowed Funds to counsel for the Cahaly Plaintiffs.

                          2.       Universitas Education, LLC ("Universitas") has also agreed to release any
                   claim on the Escrowed Funds and to authorize the Court to pay the Escrowed Funds to
                   counsel for the Cahaly Plaintiffs.

                           3,     The Cahaly Plaintiffs agree that their counsel shall hold the Escrowed
                   Funds in escrow until all documents relating to the settlement of this matter have been
                   duly signed, deliveted, at1d filed with the Court, as required by this Agreement. All
                   documents must be signed by the Parties by December 23, 2015 for this Agreement to be
                   valid.

                           4.      The Parties agree to instruct their counsel to sign and file with the Court a
                   stipulation of dismissal of the Litigation in the form attached hereto as Exhibit A (the
                   "Stipulation of Dismissal").

                          5.     The Cahaly Plaintiffs agree that $900,000 of the Escrowed Funds shall be
                   paid by counsel for the Cahaly Plaintiffs to Universitas, thro\-igh its counsel.

                          6.     BPETCO agrees to pay the Cahaly Plaintiffs, through their counsel, the
                   sum of one hundred and twenty-five thousand dollars ($125,000).




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                            7.      The Cahaly Plaintiffs agree to deliver a satisfaction of the Amended
                    Judgment dated November 18, 2004, in Cahaly, et al v. Bentstar Property Exchange
                    Trust Co., Inc., et al, Civil Action No., SUCV2001-cv-O l 16-BLS2 (the "Original Cahaly
                    Action") acknowledging that the Amended Judgment is fully satisfied as to all judgment
                    debtors (the Satisfaction of Judgment:) in the form attached hereto as Exhibit B.
                            8.      The parties agree to the following mutual releases:

                            a.       Each of Gail Cahaly, Jeffrey M, Johnston, Bellemare Associates LLC,
                    Massachusetts Lumber Company Inc., Joseph Iantosca, and Belridge Corporation, for
                   themselves, their representatives, managers, members, trustees, beneficiaries, successors
                   and assigns and all other persons for whom they are authorized to so act, each and any of
                   them, and anyone acting in concert with them (collectively, the "Iantosca Releasing
                   Pprties"), do hereby remise, release and forever discharge Daniel Carpenter, Molly
                   Carpenter, Boston Property Exchange Transfer Company, Inc., Benistar Admin. Services,
                   Inc., Carpenter Financial Oroup, Benistar Ltd., Benistar Employer Services Trust
                   Corporation, and U.S. Property Exchange and their representatives, managers, directors,
                   officers, affiliates, predecessors, partners, servants, agents, consultants. employees,
                   pledgees, nominees, insurers, accountants, attorneys, successors and assigns and each and
                   every one of them, (collectively, the "Benistar Rel,;ased Parties0 ) , and Universitas of
                   and from any and all manner of actions, causes of action, suits, debts, dues, accounts,
                   bonds, covenants, contracts, agreements, judgments, claims and demands whatsoever,
                   whether in law in equity, lmown or unknown, anticipated or unanticipated, discovered or
                   undiscovered, past or present, of any nature whatsoever.

                            b.      Daniel carpenter, Molly Carpenter, Benistar Property Exchange Trust
                    Company, Inc., Benistar Admin. Services, Inc., Carpenter Financial Group, Benistar Ltd.,
                   Benistar Employer Sel'vices Trust Corporation, and U.S. Prope1ty Exchange, for
                   themselves and for their representatives, managers, members, partr1ers, successors,
                   assigns and all other persons for whom they are authorized to so act1 each and every one
                   of them, and anyone acting in concert with them (collectively, "Benistar Relea@ing
                   Parties"), do hereby remise, release and forever discharge each of Gail Cahaly, Jeffrey
                   M. Johnston; Bellemore-Associates LLC, Massachusetts Lumber Company Inc., Joseph ..
                                                              0




                   Iantosca, and Belridge Corporation, and their respective representatives, directors.
                   officers, subsidiaries, affiliates, corporate predecessors, partners, servants, agents,
                   consultants, pledgees, nominees, insurers, accountants, attorneys, successors and assigns,
                   and each and every one of them, and anyone acting in concert with them (collectively, the
                   "lantosca Released Parties,,), of and from any and all manner of actions, causes of
                   action, suits, debts, dues, accounts, bonds, covenants, contracts, agreements, judgments,
                   claims and demands whatsoever, whether in law in equity, known or unknown,
                   anticipated or unanticipated, discovered or undiscovered, past or present, of any nature
                   whatsoever.
                            9.     Once counsel for each of the Parties certifies that their clients have agreed
                   to the terms of this Agreement, the Parties shall file the Stipulation of Dismissal and shall
                   request the Court to release the Escrowed Funds, All Escrowed Funds released by the
                   Cowt shall be held in escrow by Zelle, McDonough & Cohen, LLP pending delivery to


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                    counsel for BPETCO of the Satisfaction of Judgment and copies of this Agreement
                    executed by all Parties.

                            IO.     Once the Satisfaction of Judgment and copies of this Agreement executed
                    by all Parties have been received by counsel for BPETCO, counsel shall immediately
                    wire the $125,000 settlement proceeds to Zelle, McDonough & Cohen, LLP,

                             11.   Counsel for BPETCO shall not file the Satisfaction of Judgment with the
                    Court until he has delivered to counsel for the Cahaly Plaintiffs copies of this Agreement
                    executed by all of the BPETCO parties and has wired the $125,000 settlement proceeds
                    to Zelle, McDonough & Cohen, LLP.

                            12.    The Cahaly Plaintiffs acknowledge the sufficiency of the Consideration
                   (defined as the payments described above, together with all the promises, agreements,
                   and representations set forth in this Agreement including the releases by the Cahaly
                   Plaintiffs and dismissal of the Lawsuit with prejudice) by signing this Agreement. The
                   payments described above are not an admission of liability or a concession on the part of
                   any party as to the truth of any of the allegations, made by any party in the Lawsuit and
                   may not be so construed. All parties acknowledge the highly disputed nature of their
                   claims and causes of action in the Lawsuit.
                            13.    The Calmly Plaintiffs and BPETCO each covenant and promise never to
                   institute a claim relating to or arising out of their dealings, transactions or any other
                   involvement with the other, including any alleged entitlement under any law or regulation
                   with any state or federal court or agency. The Cahaly Plaintiffs and BPETCO further
                   each covenant and promise never to sue each other concerning their dealings, transactions
                   or any other involvement that any or all of the Cahaly Plaintiffs may have had with the
                   BPETCO Parties. Each of the Cahaly Plaintiffs and BPETCO agrees that if any of them
                   violates this covenant not to sue they will pay all costs and expenses of defending against
                   the suit incurred by the other party, including all attorneys' fees and expenses.
                            14, The Cahaly Plaintiffs and BPETCO hereby expressly waive any and all rights
                   they; or anyone claiming by, through, onmder them, may have against the other tnider
                   any legal or equitable principle or theory in connection with the facts and circumstances
                   alleged in or in any way related to the Litigation. The Cahaly Plaintiffs also acknowledge
                   that they fully release the BPETCO Parties for the payment of any outstanding past,
                   present and future fees, penalties, interest, liabilities and/or expenses related to the
                   Litigation, and any tax liabilities.
                          15,    Each party shall pay their own costs, expenses and attorneys' fees incurred
                   in connection with the Lawsuit,
                          16.     By signing this Agreement, each party makes the following
                   representations with respect to themselves and each entity for which they are signing:
                          a.      The party is conectly described in this Agreement;



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                              b,      The party is legally competent;
                            c.      The signatory to this Agreement for any entity is a duly authorized
                     representative of that entity for which he or she is signing this Agreement;
                            d.      This Agreement is fully and forever binding on the parties their heirs,
                     successors, assigns and partners and shareholders, as applicable;
                             e.      The party fully understands that this is a full, complete, and final release,
                     and that the Consideration paid under this Agreement is all the money that is to be paid
                     by or on behalf of the BPETCO Parties to the Cahaly Plaintiffs as a result of the matters
                     made the basis of the Lawsuit, The Cahaly Plaintiffs will not seek any further money or
                   , other recovery from the BPETCO Parties for claims asserted, or that could have been
                     asserted, in the Lawsuit;
                             f.      No promise or representation of any kind regarding the subject matter of
                     this Agreement has been made to the parties or to anyone acting for the parties, except as
                     is expressly stated in this Agreement;
                            g.     The Party has not assigned, pledged, or in any other manner sold or
                    transferred any right, title, interest, or claim that arises out of the Lawsuit, or this
                    Agreement, except to their counsel;
                             h.     This Agreement was fully explained to the party by its/his/her own
                    Counsel before the party signed the Agreement. The party represents that it/he/she has
                    read and understands this Agreement, and has had the advice of attorneys and other
                    professionals of its/his/her own selection with regard to the legal consequences of this
                    Agreement. Before executing this Agreement, the party had, with the advice of
                    its/his/her counsel, fully informed themselves of its terms, contents, conditions, and effect
                    and no promise or representation of any kind has been expressed or implied to the party.
                            i..     The party understands, after consultation with its/his/her counsel, how the
                    consideration is being paid by, how the consideration is being allocated as among and
                    oefween each party arid- each party agrees wi:ttt··such aUb'mititm'·m1c!'°believes'that·it-1s~fair·
                    and reasonable, The party has consulted with its/his/her attorneys, who have fully
                    explained to the party's satisfaction the terms of this Agreement, including disclosure of
                    the existence and nature of all of the claims involved in this settlement, and the nature
                    and extent of the participation of each person or entity in the settlement. The party enters
                    this Agreement freely, by its/his/her own choice, and judgment, and without duress or
                    other influence;
                           j.      Each Party recognizes that the recitations contained in this Agreement are
                    contractual and not a mere recital; and
                           k,      Each Party further represents that it/he/she are not relying on the advice of
                   the other Parties or their representatives, consultants, or attorneys, on any matters,
                   including but not limited to-the legal and income tax consequences of this Agreement, the



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                      investment of funds or how the Consideration being paid is allocated among and between
                      the Parties. Each Party has relied solely and completely upon their own judgment, and the
                      advice of its/his/her counsel in making this Agreement.

                            17.    All Parties declare and represent that they are choosing to execute this
                      Agreement under their own free will and are not under any duress or coercion.

                              18.     All Parties represent that they have been afforded the opportunity, before
                      signing and agreeing to this Agreement, to seek legal advice regarding the terms and
                      conditions of this Agreement and have done so,
                              19.    The financial terms of this Agreement shall be kept CONFIDENTIAL.
                     The Parties and their counsel agree not to discuss or disclose, directly or indirectly, either
                     publicly or privately the financial terms and conditions of this Agreement and the
                     negotiations in connection herewith, including any consideration paid hereunder (the
                     "Confidential Material"), for any purposes other than the enforcement of the terms and
                     conditions contained herein, or as required by court order or rule, or as necessary to
                     obtain legal or accounting advice or fulfill some legal duty, Notwithstanding this
                     provision, the Parties permit disclosure of the Agreement to the other Parties in this
                     Litigation as required by the Federal Rules of Civil Procedure, if so requested by any
                     other Parties.
                             20,      This Agreement has been prepared by the joint efforts of the respective attorneys
                     for the Parties, In the unlikely event of an ambiguity in this Agreement, the Parties agree that the
                     Agreement shall be construed in an even-handed manner as to give effect to the purpose of this
                     Agreement, and that there shall be no presumption that the Agreement should be construed
                     against one Party or another.
                             21.    If any provision of this Agreement is later held to be invalid or
                     unenforceable for any reason, such provision shall not affect the validity or enforceability
                     of the remaining provisions of this Agreement.
                            22.     The Parties agree that this Agreement constitutes the entire agreement
                     between tnem-·and that a facsimile,- electronic, Xerox or photostatic copy shall have the
                     same force and effect as an original. This Agreement may be executed in multiple
                     counterparts, each of which are to be considered originals and of equal dignity, but all of
                     which shall constitute one and the same Agreement.




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                WHEREFORE, the Parties hereto have caused this Agreement to be executed by their
         duly authorized representatives as of the date first above written.


         Daniel Carpenter                                             Attorneys for:
                                                                      Gail Cahaly, Jefft-ey M. Johnston, Bellemore
         ---.M.....;;:~;;.....,==--w2:=....~----B:...._4t ~ ).,... Associates, LLC, Massachusetts Lumber
         Daniel Carpenter                                ~.. ~        Company, Inc., Joseph Iantosca, and David
                                                                      lantosca individually and as trustees of Faxon
                                                    .{, <" { ) ~•..,\ Heights Apartments and Fern Realty Trust on
         Molly Carpenter                             t. C..-~ behalf of Joseph Iantosca (deceased), and
                                                                      Belridge Corporation,

                                                           By: _ _ _ _ _ _ _ _ ,_ __
                                                               Anthony R. Zelle, Esq_.
                                                               Thomas W. Evans, Esq.
                                                               Zelle McDonough & Cohen LLP
                                                               101 Federal Street, 14 1h Floor
                                                               Boston, MA 02110




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                  WHEREFORE, the Parties hereto have caused this Agreement to be executed by their
           duly authorized representatives as of the date first above written.


           Daniel Carpenter                         Attorneys for:.
                                                    Gail Cahaly, Jeffrey M. Johnston, Bellemore
                                                    Associates, LLC, Massachusetts Lumber
           Daniel Carpenter                         Company, Inc., Joseph Iantosca, and David
                                                    Iantosca individually and as trustees of Faxon
                                                    Heights Apartments and Fern Realty Trust on
          Molly Carpenter                           behalf of Joseph Iantosca (deceased), and
                                                    Belridge Corporation,

          Molly Carpenter

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                                                         Thomas W, vans, Esq.
                                                         Zelle McDonough & Cohen LLP
                                                         101 Federal Street, 14th Floor
                                                         Boston, MA 02110




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